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                      DEPARTMENT OF VETERANS AFFAIRS
                 OFFICE OF OPERATIONS SECURITY AND PREPARDNESS
                    OFFICE OF SECURITY AND LAW ENFORCEMENT
                               WASHINGTON DC 20420




                                 October 8, 2021


Matthew Strugar
Law Office of Matthew Strugar
3435 Wilshire Blvd., Suite 2910
Los Angeles, CA 90010
323-696-2299
Sent via email: matthew@matthewstrugar.com

Dear Mr. Strugar:


This is in response to your Freedom of Information Act (FOIA) request dated August 26,
2021 in which you requested a copy of the below VA OIG records. Your request was
referred to the Office of Security and Law Enforcement in VA Central Office on October
6, 2021 for a direct response to you:

December 13, 2018 - Inadequate Governance of the VA Police Program at Medical
Facilities:

   •   The OS&LE reports used by OIG that assess the effectiveness of the inspection
       program for every VA medical facility w/police unit (referenced on page 27).
       Underlying data from Table 1: Overview of Police Program Requirements
       Inspected by OS&LE.

   •   The documentation from the interviews with OSP and VHA employees about
       roles and responsibilities

VA Police inspection reports involve security sensitive information pertaining to the
police unit’s operations, procedures, and processes. The reports also include an
analysis of each facility’s police program, security planning, and vulnerability
assessments. These records are withheld from release in their entirety pursuant to
FOIA Exemptions 7(E) (5 U.S.C. Sec. 552(b)(7)(E)), which provides for the withholding
of such information as law enforcement techniques, guidelines, and procedures. The
public release of these reports’ compromises security measures, risks circumvention of
requirements and processes, and nullifies the objective of such reports relative to the
program’s mission to ensure the safety and security of the facilities.
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A search for documentation from the interviews with OSP and VHA employees about
roles and responsibilities was conducted This information is being withheld pursuant
to FOIA Exemption (b)(5), (b)(6) and (b)(7)(E).

Below is an explanation of the FOIA Exemptions and Statutes.

 FOIA Exemption 5, [5 U.S.C. § 552 (b)(5)], protects from disclosure “inter-agency or
intra-agency memorandums or information which would not be available by law to a
party other than an agency in litigation with the agency.” Courts have interpreted
Exemption 5 to exempt records that are normally privileged in the civil discovery
context. The three primary, most frequently invoked privileges that have been held to be
incorporated into Exemption 5 are the deliberative process privilege (referred to by
some courts as "executive privilege"), the attorney work-product privilege, and the
attorney-client privilege. We are invoking “the deliberative process privilege, the
purpose of which is to "prevent injury to the quality of agency decisions." Specifically,
three policy purposes consistently have been held to constitute the bases for this
privilege: (1) to encourage open, frank discussions on matters of policy between
subordinates and superiors; (2) to protect against premature disclosure of proposed
policies before they are adopted; and (3) to protect against public confusion that might
result from disclosure of reasons and rationales that were not in fact ultimately the
grounds for an agency's action.

FOIA Exemption 6, [5 U.S.C. § 552 (b)(6)], protects all information which, if disclosed,
would constitute a clearly unwarranted invasion of an individual’s personal privacy.
Specifically, names, job titles, investigative case numbers, email addresses and other
information or statements which could reveal the identity of individuals mentioned in the
records have been withheld. We do not find any public interest that outweighs the
privacy interests of the individuals.

FOIA Exemption 7E, [5 U.S.C. § 552 (b)(7)(E)], protects all records compiled for law
enforcement purposes which, if disclosed, would reveal techniques and procedures for
law enforcement investigations and prosecutions, or would disclose guidelines for law
enforcement investigations or prosecutions if such disclosure could reasonably be
expected to risk circumvention of the law.

If you wish to appeal this determination, please send the appeal letter within ninety (90)
days to:

Office of General Counsel (OGC/024)
810 Vermont Avenue, N.W., Washington, DC, 20420
Email: ogcfoiaappeals@va.gov Fax: (202) 273-6388

Please include a copy of your request and this letter with your appeal and clearly state
why you disagree with the determination. Please mark the front and back of the
envelope with “Freedom of Information Act Appeal.”
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As an alternative to an appeal, you may contact VA FOIA Public Liaison, which was
created to offer mediation services to resolve disputes between FOIA requesters and
VA. Using this method does not affect your right to appeal. You may contact:

VA FOIA Public Liaison at Department of Veterans Affairs
810 Vermont Ave., NW
Washington, DC 20420
Email: vafoiaservice@va.gov, Phone: (877) 750-3642, Fax: (202) 632-7581.

Also, the Office of Government Information Services (OGIS) offers mediation services to
resolve disputes between persons making requests and administrative agencies as a
nonexclusive alternative to litigation and, at the discretion of the OGIS, may issue
advisory options if mediation has not resolved the dispute. The OGIS is at the National
Archives and Records Administration, 8601 Adelphi road, College Park, MD 20740,
Email: ogis@nara.gov, phone: (877) 684-6448, Fax: (202) 741-5769.


                                        Sincerely,
                                                        Digitally signed by Michael J.
                                        Michael J.      Franklin 542525

                                        Franklin 542525 Date: 2021.10.08 15:40:31
                                                        -04'00'

                                        Michael Franklin
                                        Office of Security and Law Enforcement
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